
RESOLUCIÓN ENMENDADA
En conformidad con lo dispuesto en la Regla 4(d) del Reglamento de este Tribunal, 4 L.RR.A. Ap. XXI-A, se enmienda nuestra Resolución de 20 de junio de 2007 y se constituyen las Salas de Verano siguientes para funcionar durante el receso:

Del 1 julio al 17 de agosto de 2007

Hon. Francisco Rebollo López, presidente
Hon. Liana Fiol Matta
Hon. Anabelle Rodríguez Rodríguez

Del 18 de agosto al 30 de septiembre 2007

Hon. Federico Hernández Denton, presidente
Hon. Jaime B. Fuster Berlingeri
Hon. Efraín E. Rivera Pérez
Los Presidentes de Sala quedan facultados para sustituir a los Jueces que no puedan intervenir en algún asunto ante su consideración y, asimismo, para convocar al Pleno del Tribunal cuando sea necesario. El Tribunal continuará *843emitiendo y certificando opiniones y sentencias durante todo el receso de verano.

Publíquese.

Lo acordó el Tribunal y certifica la Secretaria del Tribunal Supremo.
(.Fdo.) Aida Ileana Oquendo Graulau

Secretaria del Tribunal Supremo

